 Case 1:22-cv-00277-JEB Document 1-1 Filed 02/02/22 Page 1 of 12




         DECLARATION OF VENDETTE T. PARKER

I, Vendette T. Parker, declare the following:

1.    I am over the age of 18 and competent to render testimony
contained herein based on my knowledge and experience as a former
employee of the District of Columbia, Metropolitan Police
Department (MPD).
2.    I retired from MPD in January 2020 at the rank of Inspector. I
served as MPD's Freedom of Information Act (FOIA) Officer from
October 2017 until my retirement.
3.    In 2019, Ms. Amy Phillips filed a FOIA request with MPD for
the entire Adverse Action Hearing file for Officer Sean Lojocano
including all electronic communications, such as emails, text
messages, etc., associated with it.
4.    The request was received by MPD on the same day it was filed.
The FOIA office began processing the request immediately.
5.    FOIA requests are generally processed as follows: (1) request is
received by intake assistant; (2) the intake assistant reviews the
request to ensure it is seeking records for which MPD is the
repository; (3) once confirmed the request is one in which MPD holds
records, the intake assistant assigns the request to a FOIA specialist
and then sends a notification to the MPD unit likely to be in
possession of the records that a request for records has been made
and requests·that unit to forward all responsive documents to the
assigned FOIA specialist; (4) the intake assistant sends the requester
 Case 1:22-cv-00277-JEB Document 1-1 Filed 02/02/22 Page 2 of 12




an email confirming receipt of the request and notifies the requester
of the name and contact information of the FOIA specialist assigned
to process the request; (5) the records are located and forwarded to
the assigned FOIA specialist; (6) the FOIA specialist reviews the
documents for responsiveness. Of the records that are responsive,
the FOIA specialist prepares the records for release to the requester
by redacting any information deemed exempt under DC Code,
DCMR, or any other controlling authority; (7) upon completion, the
proposed responsive records to be released are reviewed by the FOIA
supervisor or the FOIA officer for completeness and accuracy; finally,
(8) the responsive records are released to the requester.
6.    Although this is generally how FOIA requests were processed,
there was a different process for certain situations.
7.    On my very first day assigned to the FOIA office, my new
supervisor, the then Chief Operating Officer, LeeAnn Turner,
conferenced with me and gave me her expectations of me in my new
role. She explained first that the office was generating surplus Equal
Employment Opportunity (EEO) complaints and that she wanted me
to quell those intraoffice issues. Second, she explained that the then
Chief of Police, Peter Newsham, felt he was being blindsided as the
media and others confronted him with questions regarding records
they had obtained from FOIA; records he was unaware had been
released.
8.    As a result and to prevent Chief Newsham from being
blindsided in the future, Ms. Turner advised me of an unofficial,
                                 2
 Case 1:22-cv-00277-JEB Document 1-1 Filed 02/02/22 Page 3 of 12




unwritten policy that required the FOIA officer to notify Chief
Newsham and Ms. Turner of any FOIA request originating from the
media, certain identified individuals, or requests for certain records.
9.    Although Ms. Turner did not name any specific individual in
this meeting, she made it clear that I should bring to her attention any
request coming from a person he has previously published a negative
media article about Chief Newsham or MPD, if he uses the records
for litigation if he is outspoken in City Council or community
meetings in a negative way toward Chief Newsham or MPD, if the
requester is the subject of a high profile incident, or if he repeatedly
requests records that have the potential to be detrimental to Chief
Newsham or MPD, regardless is of whether or not what is currently
being requested is potentially detrimental.
10.   Some examples are Eric Flack, WUSA9 reporter; Marina
Marraco, Fox5 reporter; the ACLU; Denise Krepp ANC
Commissioner; Lorenzo Greene, ANC Commissioner; Benjamin
Douglass, Anti-Defamation League (ADL); Emily Barth, Public
Defender's Office; and Amy Phillips, Public Defender's Office;
among others.
11.   Examples of requested records that would invoke the unofficial
and unwritten procedure were requests for any Gun Recovery Unit
(GRU) records, personnel records, the Chief's or Ms. Turner's emails,
use of force records, stop and frisk records, any records related to a
recent negative high profile event involving MPD, any type of
statistics or data, and adverse action records, among others.
                                 3
 Case 1:22-cv-00277-JEB Document 1-1 Filed 02/02/22 Page 4 of 12




12.    When such records were requested, Ms. Turner would often
either direct me to or research the requester herself using publicly
available sources such as google. Ms. Turner was interested in who
the requester was to better predict the motivation of the requester for
requesting the records they requested and how those records might
be used (to harm MPD or Chief Newsham reputationally, in
litigation, etc.).
13.    To facilitate this unofficial and unwritten policy, I sent an email
to Chief Newsham and Ms. Turner weekly which included a listing
of all FOIA requests received the prior week, highlighting any
requests that originated from the media, specific individuals, or
sought certain records.
14.    Additionally, Ms. Turner convened a weekly FOIA meeting
every Tuesday at 11:00am where the highlighted FOIA requests were
discussed and I was given specific instruction on how Ms. Turner
wanted them handled.
15.    Once these highlighted FOIA requests had been processed, I
was required to present the proposed responsive records to Ms.
Turner, at the aforementioned Tuesday meetings, for authorization to
release. The proposed responsive records were to be presented to
Ms. Turner in printed form. The Chief and Ms. Turner were averse to
emails as they created material susceptible to FOIA laws or discovery
in litigation.
16.    The purpose of presenting the records to Ms. Turner was to
allow her and Chief Newsham an opportunity to inspect what
                                  4
 Case 1:22-cv-00277-JEB Document 1-1 Filed 02/02/22 Page 5 of 12




records were about to be released in order to prepare in case any of
the records being released would have a reputationally detrimental
impact to Chief Newsham or MPD before the requester received the
potentially detrimental records.
17.   I have no knowledge of whether Ms. Turner and Chief
Newsham actually met to discuss any proposed releasable records. I
was never a part of their meetings. I only know that Ms. Turner told
me she would discuss them with Chief Newsham.
18.   In the case of Ms. Phillips, two criteria were met requiring her
requests be elevated to the attention of Chief Newsham and Ms.
Turner. Ms. Phillips was one of the specific individuals and she was
requesting records pertaining to Lojocano; an officer involved in a
high-profile incident.
19.   The Public Defender's Office originally came to the attention of
Chief Newsham and Ms. Turner due to the records its representatives
sought in FOIA requests filed prior to the one at subject here and
because she was a public defender requesting them. The PDS had
previously requested all of the names and badge numbers for every
officer assigned to each patrol district, the Narcotics and Special
Investigations Division (NSID), and the Gun Recovery Unit (GRU).
Ms. Phillips, in her capacity as a public defender, also requested
copies of the transcripts for every Adverse Action Hearing that
occurred during a specified time period, among other requests.
20. . In compliance with MPD' s unofficial FOIA policy, when Ms.
Phillips' s request for Lojocano' s adverse action hearing transcripts
                                 5
  Case 1:22-cv-00277-JEB Document 1-1 Filed 02/02/22 Page 6 of 12




 was received, I notified Ms. Turner of the request. She advised me to
 deny the request as the agency considered these documents to be
 personnel records and it was the agency's position not to release such
 records under the personal privacy exemption.
 21.    A letter was sent to Ms. Phillips notifying her that her request
 was denied and providing her with information on the appeal
 process.
 22.    There are two options once a District of Columbia government
 agency denies, in whole or part, a FOIA request. The requester may
 appeal to the MOLC (agency that handles FOIA complaints), or the
 requester may file a lawsuit to seek judicial remedy.
 23.    Ms. Phillips appealed the denial to the Mayor's Office of Legal
 Counsel (MOLC).
 24.    After consideration, the MOLC ruled that these records were a
 matter of public interest; the public's interest in the case outweighed
 Lojocano' s privacy interest and that MPD should release the records.
 25.    Redacted




· 26.   Redacted




 27.    Redacted




                                  6
 Case 1:22-cv-00277-JEB Document 1-1 Filed 02/02/22 Page 7 of 12




Redacted


28.   Redacted




29.   Redacted




30.   Redacted


31.   While the FOIA office awaited a decision from the Chief's
office, Ms. Phillips contacted the FOIA office to follow up on the
disposition of her request. I informed Ms. Phillips that MPD received
the MOLC' s ruling and was in the process of considering next steps.
Ms. Phillips provided a deadline to begin receiving records and
informed me should that deadline expire without receiving any, she
would file a lawsuit.
32.   Redacted




                                7
 Case 1:22-cv-00277-JEB Document 1-1 Filed 02/02/22 Page 8 of 12




33.   I contacted Ms. Phillips the same day and informed her that we
would process and release responsive records to her as soon as
possible.
34.   Redacted




35.   The records were stored ·on a shared drive to which members of
OGC had access.
36.   Ms. Phillips contacted me via email once again to ask the
disposition of her request. I informed her that her request was still
being processed. Ms. Phillips again threatened litigation.
37.   Ms. Phillips' s second threat was communicated to Ms. Turner
via phone, not email.
38.   Shortly afterward, in approximately June of 2019, I was notified
by the District of Columbia, Office of the Attorney General (OAG),
that Ms. Phillips had indeed filed a lawsuit seeking release of the
requested records.
39.   I advised Ms. Turner via phone conversation and reminded her
that I had completed processing the records and they were ready to
be released once authorized.
                                8
 Case 1:22-cv-00277-JEB Document 1-1 Filed 02/02/22 Page 9 of 12




40.   Redacted


41.   Redacted




42.   Redacted




43.   Redacted


44.   Redacted




45.   The day before the scheduled hearing, Ms. Turner gave final
authorization and all responsive records within FOIA' s custody at
that time were released with the exception of Body Worn Camera
(BWC) footage.


                               9
Case 1:22-cv-00277-JEB Document 1-1 Filed 02/02/22 Page 10 of 12




46.   BWC video was not processed as part of Ms. Phillip's request
because Ms. Turner informed me that it was the agency's position
that the BWC video was not responsive.
47.   All records that the FOIA office received from MPD' s
Disciplinary Review Office in response to Ms. Phillips' s request were
saved on the aforementioned shared drive for which all FOIA
specialists, FOIA supervisors, the FOIA officer, and several members
of OGC had access. At no time did I store any records on a storage
medium to which I only had access.
48.   Additionally, all records that the FOIA office received from
MPD' s Disciplinary Review Office (repository unit for adverse action
hearing records) in response to Ms. Phillips' s request were processed
by me then reviewed by Mr. Viehmeyer and Ms. Turner. The
documents proposed for release, the applied redactions, and those
withheld were approved by both.
49.   Although I was the FOIA officer for MPD, it is not accurate that
I approved nor made the final determination to release all records. In
many situations, the approval to release documents, which ones, and
when to release them were made by Ms. Turner and Chief Newsham.
This case is an example of one of them.
50.   Redacted




                               10
Case 1:22-cv-00277-JEB Document 1-1 Filed 02/02/22 Page 11 of 12




51.   Other examples of FOIA requests where Ms. Turner took
control include: (1) a request in which outside employment records
were requested in response to a recent news story on a local news
channel. The request generated hundreds of responsive documents.
One of the records appeared to have been faxed and was distorted
and off center on the copy. Ms. Turner was unhappy with the
aesthetic of the record and refused to allow them to be released. She
directed me to contact the unit responsible for keeping the records to
see if they had a better copy. I contacted that unit and was informed
the distorted copy was the only one they had. When I told Ms.
Turner this, she said the distorted copy looked unprofessional and
refused to approve the release of the records; (2) a request which
sought stop and frisk reports was delayed from release until each
report was read and several meetings were held with a group of Ms.
Turner's direct reports (Mr. Matthew Bromeland, then chief of staff;
Ms. Kelly O'Meara, director of strategic change; Ms. Maureen
O'Connell, director of policy and standards; Ms Heidi Fieselmann,
special assistant to chief of police; Mr. Dustin Sternbeck, Public
Information Officer, and me) where the ramifications of releasing the
requested records were discussed and what the agency's response
should be; (3) a request for injured person to hospital reports. After I
gathered all of the responsive documents, Ms. Turner directed
Commander Leslie Parson, Criminal Investigations Division, to
conduct a full investigative follow-up on each report and update the
classification of those needing updating. Ms. Turner conferenced
                                11
Case 1:22-cv-00277-JEB Document 1-1 Filed 02/02/22 Page 12 of 12




with Commander Parson and me and went through each report
before approving the records for release.
52.   It should be noted here that Ms. Turner was aware of the time
restraints the DC FOIA law placed on each agency and that her
refusal to authorize release of records until the agency was
comfortable with what was being released would put the agency in
violation of the DC FOIA law's time restraints.
53.   I did not convey MPD' s unofficial and unwritten FOIA
procedure to the OAG or any other authority because I felt
intimidated. Four months prior to being assigned to the FOIA office,
Chief Newsham took retributive action against me in what can only
be defined an act of retaliation. I was demoted from commander to
inspector after speaking up about a different incident and perceived
that if I spoke up about the issues described in this statement that I
would be retaliated against once more.
54.   My statements here are being made from my memory of events
that occurred at least three years ago and without the benefit of or
ability to review notes or emails. I retired from MPD in 2020 and no
longer have access to those verifying documents.
I declare under penalty of perjury that the foregoing is ~-----.;

correct to the best of my recollection.@




                               Inspector Vendette T. Parker, retired


                                 12
